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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-146V
                                   Filed: December 19, 2016
                                        UNPUBLISHED

****************************
D.S., a minor, by and through his natural *
guardian, TESSA SKRYPEK,                  *
                                          *
                     Petitioner,          *      Ruling on Entitlement; Concession;
v.                                        *      Rotavirus Vaccination;
                                          *      Intussusception;
SECRETARY OF HEALTH                       *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Robert P. Coleman, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On February 1, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”) on behalf of D.S. Petitioner alleges that D.S. suffered from an
intussusception as a result of receiving a rotavirus vaccination on June 5, 2013. Petition
at 1. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On December 16, 2016, respondent filed her Rule 4(c) report and proffer on
award of compensation in which she concedes that petitioner is entitled to
compensation in this case. Respondent’s Rule 4(c) Report and Proffer on Award of
Compensation at 1. Specifically, respondent “has concluded that D.S. suffered
1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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intussusception within the Table definition.” Id. at 4. Respondent further agrees that
based on the medical records “petitioner has met the statutory requirements for
entitlement to compensation.” Id. Respondent additionally indicates that “based on the
current record, petitioner has satisfied all legal prerequisites for compensation under the
Act.” Id.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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